 

Case 1:21-cr-00083-TNM Document 35 Filed 07/14/21 Page 1of1

AO 442 (Rev OL/09) Arrest Warrant HAAS | ak

UNITED STATES DISTRICT COURT

for the

District of Columbia

United States of America

v. )
BRANDON FELLOWS Case No. 21-cr-00083-TNM
)
)
Defendant
ARREST WARRANT
To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

(name of person to be arrested) BRANDON FELLOWS
who is accused of an offense or violation based on the following document filed with the court:

© Indictment © Superseding Indictment © Information (1 Superseding Information 4 Complaint

C] Probation Violation Petition (J Supervised Release Violation Petition A Violation Notice 7] Order of the Court

This offense is briefly described as follows:
See Pretrial Petition.

 

Date: 06/15/2021

Issuing officer's signature

City and state: Washington, DC M. Chaclan, Courtroom Deputy

Printed name and title

 

Return

 

This warrant was received on (date) 06/15/2021 , and the person was arrested on (dates 06/15/2021

at (city and state) Albany, New York

Date: 06/15/2021 ad dof!

Arresting officer's signature

Stu Smith, USMS N/NY Enforcement Supervisor

Printed naine and title

 

 
